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 7                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 8                                           AT SEATTLE
 9
10                                                     Case No. C17-41RSM
         SAMIT PATEL, Individually and on Behalf
11       of All Other Persons Similarly Situated,      ORDER GRANTING DEFENDANTS’
                                                       MOTION TO DISMISS AND GRANTING
12                   Plaintiff,                        IN PART REQUEST FOR JUDICIAL
13                                                     NOTICE
              v.
14
         SEATTLE GENETICS, INC., CLAY B.
15       SIEGALL, TODD E. SIMPSON, and
16       JONATHAN DRACHMAN,

17                   Defendants.
18
19                                       I.     INTRODUCTION

20            This matter comes before the Court on Defendants’ Motion to Dismiss, Dkt. #22, and
21
     Defendants’ Request for Judicial Notice, Dkt. #24. Defendants argue that the Consolidated
22
     Amended Complaint (“CAC”), Dkt. #18, fails to adequately plead its securities claims.
23
24   Defendants rely in part on documents outside the pleadings. In Response, Plaintiff argues that

25   the CAC is adequate to satisfy the pleading standards of Rule 12(b)(6), the Private Securities
26   Litigation Reform Act (“PSLRA”), and Rule 9(b). Plaintiff also argues that documents not
27
     referenced in the CAC should either not be considered or acknowledged only for their
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     authenticity. See Dkt. #26. For the reasons stated below, the Court GRANTS Defendants’
 1
 2   Motion to DISMISS and GRANTS IN PART Defendants’ Request for Judicial Notice. The

 3   Court will grant leave for Plaintiff to file a second consolidated amended complaint.
 4
                                              II.     BACKGROUND1
 5
             This is a putative class action filed on behalf of persons or entities who purchased or
 6
 7   otherwise acquired Seattle Genetics, Inc.’s common stock between October 27, 2016, and

 8   December 27, 2016, both dates inclusive (the “Class Period”), seeking to pursue remedies under
 9   §§10(b) and 20(a) of the Securities Exchange Act of 1934 (“Exchange Act”). Lead Plaintiff
10
     Carl Johnson, individually and on behalf of all other persons similarly situated, bring this action
11
     against Seattle Genetics and the individual defendants Clay B. Siegall, Todd E. Simpson, and
12
13   Jonathan Drachman.

14           Seattle Genetics is a development stage biopharmaceutical company traded on the
15   NASDAQ exchange under the symbol “SGEN.” Seattle Genetics has a type of cancer treatment
16
     known as an antibody-drug conjugate (“ADC”) under development, specifically the drug SGN-
17
     CD33A, which uses antibodies to target specific antigens on the surface of cancerous cells, and
18
19   deliver locally strong anticancer agents that would be too toxic to administer otherwise. Seattle

20   Genetics’ trials of SGN-CD33A focused on developing the drug to treat a type of blood cancer
21
     called Acute Myeloid Leukemia (“AML”).
22
             SGN-CD33A is the successor to an earlier ADC developed by the pharmaceutical
23
     company Pfizer known as Mylotarg (Gemtuzumab ozogamicin). Mylotarg was manufactured
24
25   and marketed by Pfizer from 2000 to 2010 as a treatment for AML. In June 2010, Pfizer

26   withdrew Mylotarg from the market at the request of the FDA because an advanced stage
27
28   1
      The following background facts are taken from Plaintiff’s Consolidated Amended Complaint (“CAC”), Dkt. #18,
     and accepted as true for purposes of ruling on Defendants’ Rule 12(b)(6) Motion to Dismiss.

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     clinical trial demonstrated that the fatal rate of treatment-related toxicity was significantly
 1
 2   higher than standard chemotherapy with no corresponding benefit to cancer patients.

 3           Plaintiff alleges that throughout the Class Period, Defendants repeatedly claimed that
 4
     SGN-CD33A had a superior design and more advanced ADC technology than Mylotarg,
 5
     allowing it to kill cancerous cells effectively without the toxicity that doomed the earlier drug.
 6
 7   Specifically, throughout the Class Period, Defendants allegedly claimed SGN-CD33A did not

 8   share the toxic side effects of Mylotarg, and touted the absence of liver disease in clinical trials,
 9   while omitting that internal information disseminated to Defendants and others within Seattle
10
     Genetics unquestionably demonstrated that SGN-CD33A caused liver toxicity (hepatotoxicity).
11
             Plaintiff lists several sources of information available to Defendants indicating that
12
13   SGN-CD33A posed a high risk of hepatotoxicity. See CAC at ¶¶ 5, 38–47. This information in

14   part comes from a confidential witness working for Seattle Genetics, “CW1.”               CW1 has
15   seventeen years of experience in the biotechnology industry, and served as the Senior
16
     Environmental Health and Safety Engineer at Seattle Genetics from March 2015 to February
17
     2017.   CW1’s responsibilities included, e.g., coordinating with Seattle Genetics’ in-house
18
19   toxicologist to prepare Safety Data Sheets that listed specific levels of toxicity associated with

20   each organ in the human body. The CAC indicates that CW1 communicated his concerns about
21
     the toxicity of SGN-CD33A to his superiors but not the named defendants directly.
22
             Plaintiff provides several examples of allegedly materially false and misleading
23
     statements made by Defendants to investors regarding SGN-CD33A. See id. at ¶¶ 48–57.
24
25   Generally speaking, these statements speak positively of SGN-CD33A’s promise as a treatment

26   but omit that SGN-CD33A had known risks of liver toxicity, and that as a result, a number of
27
28

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     patients exposed to SGN-CD33A in clinical trials were experiencing serious adverse
 1
 2   hepatotoxic events.

 3          On December 27, 2016, the FDA placed a full clinical hold on Seattle Genetics’ Phase
 4
     I/II trial of SGN-CD33A administered to stem cell transplant patients (“Stem Cell Phase I/II”).
 5
     The FDA also placed partial clinical holds on two other Phase I trials of SGN-CD33A
 6
 7   administered in combination with chemotherapy regimens in AML patients. Seattle Genetics

 8   issued a press release that same day stating that the trials subject to partial clinical holds would
 9   not enroll new patients, and that existing patients could continue to participate if they signed a
10
     revised consent form. The press release noted that six patients in the trials had been identified
11
     with hepatotoxicity, with “four fatal events,” and that these six patients were out of more than
12
13   300 patients in the clinical trials. CAC at ¶ 58. Plaintiff does not plead exactly when these

14   hepatoxic events occurred, whether before or after the allegedly misleading statements above,
15   and has stated in briefing that this information has not been revealed by Defendants. See Dkt.
16
     #25 at 12.
17
            On this news, Seattle Genetics’ stock price declined by $9.50 per share, or by over 15%,
18
19   to close at $52.36 on December 27, 2016. That same day, Credit Suisse analyst Kennen McKay

20   lowered the Company’s price target by $10, and remarked that the announcement was
21
     surprising given that Defendants had created the impression that SGN-CD33A had unique
22
     technology to “avoid the [toxicity] pitfalls” of Mylotarg. CAC at ¶ 9.
23
            On March 6, 2017, the Company announced that it would abandon the Stem Cell Phase
24
25   I/II trial and would adopt substantial risk mitigation measures to address hepatotoxicity in all

26   other trials of SGN-CD33A. With these hepatotoxicity risk mitigation measures in place, the
27
     FDA lifted the partial clinical holds it had placed on two other Phase I trials.
28

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            On January 10, 2017, Plaintiff filed the initial complaint in this case. Dkt. #1. On April
 1
 2   7, 2017, the Court entered an Order appointing a lead plaintiff and approving the lead plaintiff’s

 3   selection of counsel. Dkt. #8. On June 6, 2017, the lead plaintiff filed the Consolidated
 4
     Amended Complaint (“CAC”). Dkt. #18. the CAC alleges violations of §§10(b) and 20(a) of
 5
     the Exchange Act and violation of SEC Rule 10b-5.              Plaintiff names certain individual
 6
 7   defendants in addition to Seattle Genetics. Defendant Siegall is Seattle Genetics’ co-founder,

 8   President, Chief Executive Officer and Chairman of the Board of Directors.               Defendant
 9   Simpson was Seattle Genetics’ Chief Financial Officer during the relevant period. Defendant
10
     Drachman was Seattle Genetics’ Chief Medical Officer and Executive Vice President, Research
11
     and Development during the relevant period.
12
13                                           III.   DISCUSSION

14       A. Legal Standard
15          In making a 12(b)(6) assessment, the court accepts all facts alleged in the complaint as
16
     true, and makes all inferences in the light most favorable to the non-moving party. Baker v.
17
     Riverside County Office of Educ., 584 F.3d 821, 824 (9th Cir. 2009) (internal citations omitted).
18
19   However, the court is not required to accept as true a “legal conclusion couched as a factual

20   allegation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly,
21
     550 U.S. 544, 555 (2007)). The complaint “must contain sufficient factual matter, accepted as
22
     true, to state a claim to relief that is plausible on its face.” Id. at 678. This requirement is met
23
     when the plaintiff “pleads factual content that allows the court to draw the reasonable inference
24
25   that the defendant is liable for the misconduct alleged.” Id. The complaint need not include

26   detailed allegations, but it must have “more than labels and conclusions, and a formulaic
27
28

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     recitation of the elements of a cause of action will not do.” Twombly, 550 U.S. at 555. Absent
 1
 2   facial plausibility, a plaintiff’s claims must be dismissed. Id. at 570.

 3          Securities fraud claims are subject to heightened pleading standards under Federal Rule
 4
     of Civil Procedure 9(b) and the Private Securities Litigation Reform Act (“PSLRA”). To satisfy
 5
     Rule 9(b), a claim of fraud must “state with particularity the circumstances constituting fraud.”
 6
 7   Fed. R. Civ. P. 9(b). Particularity under Rule 9(b) requires the plaintiff to plead the “who, what,

 8   when, where, and how” of the misconduct alleged. Kearns v. Ford Motor Co., 567 F.3d 1120
 9   (9th Cir. 2009). Pursuant to the PSLRA, a complaint alleging private securities fraud must
10
     “plead with particularity both falsity and scienter.” In re Daou Systems, Inc., 411 F.3d 1006,
11
     1014 (9th Cir. 2005) (quoting Gompper v. VISX, 298 F.3d 893, 895 (9th Cir. 2002)). A
12
13   securities fraud complaint must consequently “specify each statement alleged to have been

14   misleading, the reason or reasons why the statement is misleading, and, if an allegation
15   regarding the statement or omissions is made on information or belief, the complaint shall state
16
     with particularity all facts on which that belief is formed.” Id.; 15 U.S.C. § 78u-4(b)(1). When
17
     examining whether plaintiffs’ allegations of scienter are sufficient to survive a motion to
18
19   dismiss under the PSLRA, the Court “must consider all reasonable inferences to be drawn from

20   the allegations, including inferences unfavorable to the plaintiffs.” Gompper, 298 F.3d at 897.
21
            Although required to apply heightened pleading standards, the Court will not be drawn
22
     into assessing the credibility of potential witnesses or answering questions of fact.
23
         B. Request for Judicial Notice
24
25          As an initial matter, the Court agrees with Plaintiff that Defendants’ request for judicial

26   notice should be granted only in part. The Court will deny Defendants’ request to take judicial
27
     notice of a medical journal article not referenced in the CAC. Consideration of this kind of
28

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     factual evidence, related to a key fact in dispute, is inappropriate and unnecessary at the Rule
 1
 2   12(b)(6) stage. The remainder of the documents submitted by Defendants will be considered

 3   for their existence and authenticity only. See United States ex rel. Lee v. Corinthian Colleges,
 4
     655 F.3d 984, 999 (9th Cir. 2011).
 5
         C. Claims brought under Section 10(b) and Rule 10b-5
 6
 7          To adequately state a claim under Section 10(b) of the Exchange Act and Rule 10b-5,

 8   Plaintiff must allege facts sufficient to show: “(1) a material misrepresentation or omission by
 9   the defendant; (2) scienter; (3) a connection between the misrepresentation or omission and the
10
     purchase or sale of a security; (4) reliance upon the misrepresentation or omission; (5) economic
11
     loss; and (6) loss causation.” Stoneridge Inv. Partners, LLC v. Scientific-Atlanta, Inc., 552 U.S.
12
13   148, 157 (2008).

14              1. Misrepresentations or Omissions
15          To meet the first element of a claim under Section 10(b) or Rule 10b-5, a complaint
16
     must “specify each statement alleged to have been misleading, [and] the reason or reasons why
17
     the statement is misleading.” 15 U.S.C. § 78u-4(b)(1)(B). A plaintiff must further show that
18
19   defendants made statements that were “misleading as to a material fact.” Matrixx Initiatives,

20   Inc. v. Siracusano, 131 S. Ct. 1309, 1318, 563 U.S. 27, 179 L. Ed. 2d 398 (2011) (quoting Basic
21
     Incorporated, et al. v. Levison et al., 485 U.S. 224, 238, 108 S. Ct. 978, 99 L. Ed. 2d 194 (1988)
22
     (emphasis in original). A statement is material when there is “a substantial likelihood that the
23
     disclosure of the omitted fact would have been viewed by the reasonable investor as having
24
25   significantly altered the ‘total mix’ of information made available.” Basic, 485 U.S. at 231-32.

26   A statement is misleading if it gives a reasonable investor the “‘impression of a state of affairs
27
     that differs in a material way from the one that actually exists.’” Berson v. Applied Signal
28

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     Tech., Inc., 527 F.3d 982, 985 (9th Cir. 2007) (quoting Brody v. Transitional Hospitals Corp.,
 1
 2   280 F.3d 997, 1006 (9th Cir. 2002)). “Once defendants cho[o]se to tout positive information to

 3   the market, they [are] bound to do so in a manner that wouldn’t mislead investors, including
 4
     disclosing adverse information that cuts against the positive information.” Schueneman v.
 5
     Arena Pharms., Inc., 840 F.3d 698, 705-06 (9th Cir. 2016) (internal quotation marks and
 6
 7   citations omitted).    “Whether a statement is misleading and whether adverse facts are

 8   adequately disclosed are generally questions that should be left to the trier of fact.” In re
 9   Immune Response Sec. Litig., 375 F. Supp. 2d 983, 1017 (S.D. Cal. 2005) (citing Fecht v. Price
10
     Co., 70 F.3d 1078, 1081 (9th Cir.1995)); In re Amgen Inc. Sec. Litig., 544 F. Supp. 2d 1009,
11
     1018 (C.D. Cal. 2008) (“the truth-on-the-market defense is intensely fact-specific, so courts
12
13   rarely dismiss a complaint on this basis.”).

14          Plaintiff sets forth Defendants’ materially false and misleading statements and omissions
15   in paragraphs 48 through 62 of the CAC. For example:
16
                    54.    On December 3, 2016, Seattle Genetics issued a press
17                  release announcing partial results from the 7+3 Phase I study,
                    which included the following statements:
18
19                  …

20                  “Our clinical trial data reported at ASH demonstrate that adding
                    vadastuximab talirine, also known as 33A, to standard of care
21
                    treatment results in a rapid, high rate of remissions in frontline,
22                  younger AML patients with poor prognosis. Notably, seventy-eight
                    percent of patients who achieved remissions in this trial tested
23                  negative for minimal residual disease, which means no cancer
                    could be detected with a sensitive test,” said Jonathan Drachman,
24
                    M.D., Chief Medical Officer and Executive Vice President,
25                  Research and Development at Seattle Genetics. “In this trial, 33A
                    in combination with 7+3 was well-tolerated, with a low early
26                  mortality rate. Based on these promising, early data, we plan to
27                  initiate a randomized phase 2 clinical trial in 2017 in younger
                    newly diagnosed AML patients to further evaluate the potential
28                  benefit of adding 33A to standard of care.”

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 1
                    “People with acute myeloid leukemia die of infections or bleeding
 2                  within weeks or a few months of diagnosis without effective,
                    aggressive chemotherapy. Even with current treatment regimens,
 3                  fewer than 50% of younger adults are successfully treated. The
                    phase 1 results of 33A in combination with standard of care show
 4
                    a high rate of remissions in younger newly diagnosed AML
 5                  patients without significantly adding to the toxicity of the
                    treatment.
 6
 7                  …

 8                  No veno-occlusive disease/sinusoidal obstruction syndrome or
                    significant hepatotoxicity was observed on treatment.
 9
10   Dkt. #18 at 16–18 (emphasis in original).

11          Defendants argue that the above press release related to a specific study, “Study 2,” and
12   that Plaintiff “has not alleged any facts indicating that these December 3 Study 2-specific
13
     statements were false” or “that a single Study 2 patient experienced significant hepatotoxic
14
     events or died from such events.” Dkt. #22 at 22.
15
16          In Response, Plaintiff argues that, under the PSLRA, “even literally true statements can

17   be misleading where, as here, they omit material information.” Dkt. #25 at 16 (citing Miller v.
18
     Thane, Int’l Inc., 519 F.3d 879, 886 (9th Cir. 2008)). Plaintiff pleads and argues in briefing that
19
     Defendants repeatedly failed to mention material information about SGN-CD33A’s toxicity that
20
     was known to Defendants. Most persuasively, Plaintiff argues that the December 3, 2016, press
21
22   release, above, failed to disclose that patients in the trials had already experienced hepatotoxic

23   events while simultaneously touting the drug’s lack of “significant” hepatotoxicity, and that this
24
     satisfies the standard for misleading statements under prior case law.          Id. at 19 (citing
25
     Schueneman, 840 F.3d at 705-06; Juno Therapeutics, 2017 U.S. Dist. LEXIS 91608, at *17-18).
26
27          On Reply, Seattle Genetics argues that Section 10(b) and Rule 10b-5 “prohibit only

28   misleading and untrue statements, not statements that are incomplete,” and “do not create an

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     affirmative duty to disclose any and all material information.” Dkt. #28 at 12–13 (citing Brody,
 1
 2   280 F.3d at 1006; Matrixx, 563 U.S. at 44).

 3          The Court finds that Plaintiff has more than adequately pled misrepresentations or
 4
     omissions under the PSLRA and Rule 9. Plaintiff has specified each statement alleged to have
 5
     been misleading, the reason or reasons why the statement is misleading, and when and how the
 6
 7   statements were made. See Gompper, 298 F.3d at 895. Taking all facts pled as true, the Court

 8   finds that Plaintiff has made facially plausible claims of misrepresentations and omissions in
 9   violation of §§10(b) and 20(a) of the Exchange Act and violation of SEC Rule 10b-5 based on a
10
     duty to disclose the hepatotoxicity events at issue given the positive statements made during the
11
     Class Period. See Schueneman, 840 F.3d at 705-06 (“Once defendants cho[o]se to tout positive
12
13   information to the market, they [are] bound to do so in a manner that wouldn’t mislead

14   investors, including disclosing adverse information that cuts against the positive information.”);
15   Matrixx, 131 S.Ct. at 1321 (the duty to disclose is triggered either by a specific requirement
16
     under the relevant regulations or “when necessary to make statements made, in the light of the
17
     circumstances under which they were made, not misleading.”).           Whether or not each of
18
19   Defendants’ statements were materially misleading is an intensely fact-specific inquiry.

20   Defendants have failed to show that the above statements could not have been materially
21
     misleading. Based on the information before the Court, even if the risk of hepatotoxicity was
22
     known to investors, the disclosure of an actual death could be viewable by the reasonable
23
     investor as having significantly altered the ‘total mix’ of information, and it appears investors
24
25   reacted negatively to the subsequent disclosure with a drop in Seattle Genetics’ stock price.

26   Accordingly, this is not a basis for dismissal.
27
28

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                2. Scienter
 1
 2          The PSLRA requires that the complaint “state with particularity facts giving rise to a

 3   strong inference that the defendant acted with the required state of mind.” 15 U.S.C. § 78u-
 4
     4(b)(2)(A). To satisfy this state of mind element, the “complaint must allege that the defendant
 5
     made false or misleading statements either intentionally or with deliberate recklessness.” In re
 6
 7   Verifone Holdings, Inc. Sec. Litig., 704 F.3d 694 (9th Cir. 2012) (quoting Zucco Partners, LLC

 8   v. Digimarc Corp., 552 F.3d 981, 991 (9th Cir. 2009) (internal alterations omitted)). While
 9   facts showing a motive and opportunity to commit fraud “provide some reasonable inference of
10
     intent,” they are “not sufficient to establish a strong inference of deliberate recklessness.” In re
11
     Verifone, 704 F.3d at 701. The Supreme Court has instructed that allegations are to be reviewed
12
13   “holistically” in determining whether scienter has been adequately pled. Id. (quoting Matrixx,

14   131 S.Ct. at 1324). At the end of the day, “[a] complaint will survive... only if a reasonable
15   person would deem the inference of scienter cogent and at least as compelling as any opposing
16
     inference one could draw from the facts alleged.” Tellabs, Inc. v. Makor Issues & Rights, Ltd.,
17
     551 U.S. 308, 324, 127 S. Ct. 2499, 168 L. Ed. 2d 179 (2007).
18
19          Defendants argue that the CAC lumps together Dr. Drachman, Dr. Siegall, and Mr.

20   Simpson, referring to them as “defendants,” and that this fails to satisfy the requirement that
21
     scienter be alleged with particularity as to each defendant separately. Dkt. #22 at 25 (citing 15
22
     U.S.C. § 78u-4(b)(2)(A); In re Silicon Graphics, Inc. Sec. Litig., 970 F. Supp. 746, 752 (N.D.
23
     Cal. 1997)). Defendants argue that Plaintiff fails to allege any specifics about the individual
24
25   defendants’ knowledge or mental state at the time the challenged statements were made, instead

26   presenting evidence that CW1 communicated with other individuals in the company. Id. at 25–
27
     26. Defendants argue that the following allegation is conclusory: that “[b]y virtue of their
28

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     positions” as “senior managers of Seattle Genetics,” the Individual Defendants “had actual
 1
 2   knowledge of the materially false and misleading statements and material omissions,” including

 3   “SGN-CD33A and its known risk of hepatotoxicity.” Id. (citing CAC ¶ 76). Defendants argue
 4
     that Plaintiff fails to allege any motive for the misrepresentations/omissions, e.g. insider trading.
 5
     Id. at 27–28. Defendants argue that Plaintiff’s inference of scienter is unreasonable.
 6
 7          In Response, Plaintiff argues that the CAC adequately pleads that “Defendants were

 8   aware of the deaths and other hepatotoxic events at the time they made statements to investors
 9   omitting this information in their December 2016 press releases, or deliberately disregarded this
10
     adverse information.” Dkt. #25 at 24. Plaintiff argues that “[s]peaking about drug safety
11
     without disclosing the most important life-and-death safety information amounts to deliberate
12
13   recklessness.” Id. (citing Schueneman, 840 F.3d at 709; Juno Therapeutics, 2017 U.S. Dist.

14   LEXIS 91608, at *21). Plaintiff bases this conclusion on the facts that Defendants “abandoned
15   a clinical trial for a predecessor drug that was very close to 33A due to hepatotoxicity;” “had
16
     access to Safety Data Sheets that indicated a risk of hepatotoxicity associated with 33A;” and
17
     “were aware of a third party risk assessment that confirmed toxicity, especially after it caused a
18
19   contract manufacturer to suspend production of 33A’s key components.” Id. at 24–25. To

20   connect the negative information about SGN-CD33A to the individual Defendants’ knowledge
21
     prior to making the above statements, Plaintiff argues that “[t]he Safety Data Sheets were
22
     widely available to the Company’s employees, including Individual Defendants, and these
23
     reports indicated a risk of hepatotoxicity associated with 33A. Id. at 21 (citing CAC ¶ 41).
24
25   Plaintiff argues that CW1 “sought to resolve these toxicity risks with both Defendants Simpson

26   and Siegall, who declined to meet with him.” Id. (citing CAC ¶ 46). Plaintiff also argues that
27
     knowledge can be imputed to Defendants legally under the “Core Operations Doctrine.” Id. at
28

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     25 (citing South Ferry LP v. Killinger, 542 F.3d 776, 783–84 (9th Cir. 2008)). This Plaintiff
 1
 2   argues that absence of insider sales or other evidence of personal financial gain is “irrelevant” to

 3   proving scienter.    Id. at 25–26.    Plaintiff argues that Defendants’ competing inferences,
 4
     interpreting their actions with an absence of scienter, are neither plausible nor compelling, and
 5
     rely on documents outside the CAC. Id. at 26–28.
 6
 7          On Reply, Defendants argue that “the allegations show that CW1 was not in a position

 8   to know about hepatotoxicity in clinical study patients; never communicated CW1’s concerns
 9   about hepatotoxicity to Siegall, Simpson, or Drachman; was not in a position to know about
10
     hepatotoxicity in clinical studies; and that the Safety Data Sheets for 33A dealing with
11
     environmental toxicity could not have informed Defendants of hepatotoxicity in clinical
12
13   studies.” Dkt. #28 at 14. Defendants argue the CAC relies too heavily on speculation of

14   fraudulent intent, which is insufficient to meet the requirements of the PSLRA. Id. (citing City
15   of Roseville Emps.’ Ret. Sys. v. Sterling Fin. Corp., 963 F. Supp. 2d 1092, 1134 (E.D. Wash.
16
     2013), aff’d, 691 F. App’x 393 (9th Cir. 2017).
17
            After reviewing the CAC holistically, the Court generally agrees with the above
18
19   assertions made by Defendants. The Court finds that Plaintiff has failed to plead scienter with

20   sufficient particularity through allegations that show intent or deliberate recklessness, and failed
21
     to point to cogent possible motivations for the Defendants to make the alleged misleading
22
     statements and omissions. See Tellabs, supra. The CAC fails to present allegations connecting
23
     knowledge of the alleged risks of hepatotoxicity of SGN-CD33A, environmental or otherwise,
24
25   to the individual Defendants making the alleged misrepresentations, e.g. by pleading facts

26   showing when and how Defendants became aware of the information known to CW1. The Core
27
     Operations Doctrine can only go so far. As the Ninth Circuit stated in South Ferry LP:
28

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                    Where a complaint relies on allegations that management had an
 1
                    important role in the company but does not contain additional
 2                  detailed allegations about the defendants’ actual exposure to
                    information, it will usually fall short of the PSLRA standard. In
 3                  such cases the inference that defendants had knowledge of the
                    relevant facts will not be much stronger, if at all, than the inference
 4
                    that defendants remained unaware. As a general matter, corporate
 5                  management's general awareness of the day-to-day workings of the
                    company’s business does not establish scienter--at least absent
 6                  some additional allegation of specific information conveyed to
 7                  management and related to the fraud or other allegations
                    supporting scienter.
 8
     542 F.3d at 784-785 (internal quotation marks omitted). By failing to plead a strong inference
 9
10   of scienter, Plaintiff’s claims under Section 10(b) of the Exchange Act and Rule 10b-5 must be

11   dismissed.
12       D. Claims brought under Section 20(a)
13
            A Section 20(a) claim requires underlying primary violations of the securities laws. 15
14
     U.S.C. §§ 78t(a); In re Rigel Pharms., Inc. Secs. Litig., 697 F.3d 869, 886 (9th Cir. 2012).
15
16   Because Plaintiff has failed to plead an underlying violation of the federal securities laws, this

17   claim will be dismissed as well.
18
         E. Leave to Amend
19
            Where a complaint is dismissed for failure to state a claim, “leave to amend should be
20
     granted unless the court determines that the allegation of other facts consistent with the
21
22   challenged pleading could not possibly cure the deficiency.” Schreiber Distrib. Co. v. Serv-

23   Well Furniture Co., 806 F.2d 1393, 1401 (9th Cir. 1986). The Court finds that Plaintiff could
24
     easily allege consistent facts that cure the above deficiencies and will grant leave to amend.
25
                                            IV.    CONCLUSION
26
27          Having reviewed the relevant pleadings and the remainder of the record, the Court

28   hereby finds and ORDERS:

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          (1) Defendants’ Motion to Dismiss, Dkt. #22, is GRANTED. Plaintiff is granted leave
 1
 2           to file a Second Consolidated Amended Complaint curing the above-mentioned

 3           deficiencies no later than thirty (30) days from the date of this Order. Failure to
 4
             file an Amended Complaint within this time period will result in dismissal of
 5
             Plaintiff’s claims.
 6
 7        (2) Defendants’ Request for Judicial Notice, Dkt. #24, is GRANTED IN PART as stated

 8           above.
 9
10
          DATED this 18 day of October, 2017.
11
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13
14
                                             A
                                             RICARDO S. MARTINEZ
                                             CHIEF UNITED STATES DISTRICT JUDGE
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